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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DONNA CAVE, et al.,                                                                 PLAINTIFFS

EUGENE LEVY, et al.,                                           CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                      INTERVENORS

v.                                  Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                                  DEFENDANT

                                             ORDER

       Before the Court is certain parties’ renewed request for briefing and trial schedule (Dkt.

No. 239). Plaintiffs Donna Cave, Pat Piazzza, the consolidated Orsi plaintiffs, and intervenors The

Satanic Temple, et al. (hereinafter “the Parties”) ask the Court to enter a briefing schedule

regarding anticipated motions for summary judgment and to set this matter for a trial (Id., at 1).

The Court agrees with setting a briefing schedule along the lines of the one proposed by the parties

and sets the following deadlines:

       (1)     Any party who chooses to do so may file a dispositive motion on or before March

6, 2023.

       (2)     Any party who chooses to do so may file a response to any dispositive motion filed

by any party on or before April 10, 2023.

       (3)     Any party who chooses to do so may file a reply in support of any dispositive

motion on or before May 8, 2023, without the need to seek leave of Court to file a reply.

       Any additional briefing other than motions, responses, and replies regarding dispositive

motions will require leave of Court. When the date for filing reply briefs passes, the Court will

consider any pending dispositive motion ripe. The Court will enter a separate Amended Final
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Scheduling Order setting other pre-trial deadlines and setting the case for trial on a date not before

August 31, 2023.

       So ordered this the 4th day of January, 2023.




                                                       Kristine G. Baker
                                                       United States District Judge




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